Case 1:18-cr-00340-LGS Document 417 Filed 11/25/20 Page 1 of 2

LAW OFFICES
PAUL D. PETRUZZI, P.A.

PENTHOUSE 701
THE BANK BUILDING
8102 BISCAYNE BOULEVARD
MIAMI, FLORIDA 33138

PAUL D. PETRUZZI1 TELEPHONE (365) 373 - 6773
BEATRIZ D. VAZQUEZ
E-maik petruzzi-law@msn.com TELECOPIER (305) 373 - 3832

November 25, 2020

Honorable Lorna G, Schofield
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square, Courtroom 1166
New York, NY 10007

VIA E-MAIL: Schofield_ NYSDChambers@nysd.uscourts.gov

Re: United States y. Sharma, et al.,
Case No, 18-CR-340 (LGS)

Your Honor,
Dear Judge Schofield,

The Defendant, Robert Farkas, with the consent of counsel for the Government, respectfully
requests permission to conduct his sentencing remotely and to supplement the record with a brief video
submission recorded by his immediate family. These requests are necessitated by the ongoing Covid-19
pandemic.

Mr. Farkas is scheduled for sentencing on December 15, 2020. He was arrested on April 1, 2018,
indicted on May 14, 2018, and pleaded guilty on June 16, 2020. Mr. Farkas resides in Florida, and since
his release on bail, he has abided by stringent release conditions including home confinement with
electronic monitoring.’ Mr. Farkas’ proceedings have been impacted by the pandemic for the past year
and the parties desire to proceed with sentencing as it is presently scheduled.

The United States now appears to be experiencing a drastic spike in the exponential community
spread of the Covid-19 virus nationwide. Mr. Farkas’ family resides in Florida and New Jersey,
undersigned counsel resides in Florida, and co-counsel resides in California.

New York, Florida, New Jersey, and California are among the hardest hit states. Mr. Farkas’
New York counsel is presently quarantined due to exposure to the virus and his Florida counsel was
quarantined earlier this month. New York City schools are now closed.

 

"In June of 2020, Mr. Farkas’s bond was modified by removing the condition of electronic monitoring.

1

 
Case 1:18-cr-00340-LGS Document 417 Filed 11/25/20 Page 2 of 2

Given that in-court proceedings could be potentially suspended and the difficulties and risks
associated with travel to New York for court by Mr. Farkas, his counsel, and his immediate family, even
if in-court proceedings remain permissible, Mr. Farkas, with the consent of the government, is seeking
two accommodations. First, Mr. Farkas respectfully requests that he be permitted to conduct his
sentencing hearing remotely via video.

Given the foregoing, Mr. Farkas also requests that he be permitted to supplement his sentencing
submissions with a brief sentencing video recorded by Mr. Farkas’ immediate family, To be sure, and
were these normal times, Mr. Farkas’ family would be present with him in Your Honor’s courtroom at his
sentencing hearing. You would be abie to observe his immediate family and hear from them in person if
you so desired. Indeed, to the extent that Mr. Farkas’ family background is intertwined with his own
personal history and characteristics, they are an integral component of this Court’s sentencing mandate.

Unfortunately, the ongoing pandemic will likely prevent Mr. Farkas’ family from attending court
in person and the Court will not be able to observe them as it would normally. Indeed, even were the
Court to agree to allow Mr. Farkas and his counsel to participate by video remotely, his family will be not
be present. Accordingly, Mr. Farkas respectfully requests that this Court accept a brief video submission
from his family in his support. Video submissions have been filed in support of sentencing, See United
States v, Sant Chatwal, Case No. 14-CR-143, ECF No. 25 (E.D.N.Y. November 5, 2015); United States v.
Randy Rivera, Case No. 13-CR-00006, ECF No. 83 (D. VT. February 18, 2014); United States v. Don
Ayala, Case No. 08-CR-00474 (D. VA. May 8, 2009); United States v. Robert Rosploch, Case No. 12-
CR-00021, (D. VT. January 10, 2013).

Counsel for the Government does not oppose the request for a remote sentencing provided the
defendant makes a sufficient showing under the Cares Act for doing so. Further, the Government takes
no position on the defense request to submit a video from Mr. Farkas’s family in support of Mr. Farkas’s
sentencing,

Sincerely,

sf Paul Petruzzi
Paul D. Petruzzi, Esq.
Counsel for Robert Farkas

s/ Brian Klein
Brian Klein, Esq.
Counsel for Robert Farkas

s/f Sam Talkin

Sam Talkin, Esq.
Counsel for Robert Farkas

ce counsel for the Government

 

 

 
